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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

   CHRISTIAN HARDING, PATRICIA        )
   GIRAMMA, RONALD WELCH and LISA     )
   HARBOUR, individually and on behalf of
                                      )              CIVIL ACTION NO.:
   all others similarly situated,     )              1:20-cv-12216-LTS
                                      )
                          Plaintiffs, )
                                      )
               v.                     )
                                      )
   SOUTHCOAST HOSPITALS GROUP,        )
   INC., THE BOARD OF DIRECTORS OF )
   SOUTHCOAST HOSPITALS GROUP,        )
   INC., THE INVESTMENT COMMITTEE )
   OF SOUTHCOAST HOSPITALS GROUP )
   and JOHN DOES 1-30.                )
                          Defendants. )

             ORDER AWARDING PLAINTIFFS’ COUNSEL ATTORNEYS’ FEES AND
                      REIMBURSEMENT OF EXPENSES AND
                   PLAINTIFFS’ CASE CONTRIBUTION AWARDS
                                                    4/25/2022
       This matter having come before the Court on ________________, on the application of

Class Counsel for an award of attorneys’ fees and reimbursement of expenses incurred in the

Action and for Case Contribution Awards for the Named Plaintiffs, having considered all papers

filed and proceedings conducted herein, having found the settlement for this Action to be fair,

reasonable and adequate and otherwise being fully informed in the premises and good cause

appearing therefore:

       IT IS HEREBY ORDERED AND ADJUDGED:

       1.      All of the capitalized terms used herein shall have the same meanings as set forth

in the Settlement Agreement and Release (“Settlement Agreement”) dated November 15, 2021

and filed with the Court.
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       2.         This Court has jurisdiction over the subject matter of this application and all matters

relating thereto, including all members of the Settlement Class.

       3.                                                                           666,600.00
                  Plaintiffs’ Class Counsel are hereby awarded attorneys’ fees of $____________

                                              11,465.54 (the “Attorneys’ Fees and Expenses”),
and reimbursement of expenses in the sum of $_________

to be paid from the Settlement Fund. The Court finds that the amount of fees awarded is

appropriate and that the amount of fees awarded are fair and reasonable given the substantial risks

of non-recovery, the time and effort involved, and the result obtained for the Settlement Class.

       4.                                                        10,000
                  Each of the four Named Plaintiffs is awarded $_______________ as a Case

Contribution Award, as defined in the Settlement Agreement, in recognition of their contributions

to this Action.



                 25
SO ORDERED this ______         April
                       day of _________________, 2022.




                                                  /s/ Leo T. Sorokin
                                                 _______________________________________
                                                 Hon. Leo T. Sorokin
                                                 United States District Judge
